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                                  UNITED STATES DISTRICT COURT
                                   NORTHERN DISTRICT OF TEXAS
                                        DALLAS DIVISION

LUIS RAUL GANDARA CARRILLO and                         §
all other similarly situated under 29 U.S.C.           §
2216(B)                                                §
                                                       §
     Plaintiff,                                        §
                                                       §
v.                                                     §
                                                       §                CIVIL ACTION 3:14-cv-00405-P
CREST-MEX CORPORATION d/b/a                            §
LASIERRA APARTMENTS, MTORMA                            §
TRUST, DALLAS NET LEASE TRUST,,                        §
SIERRA MANAGEMENT TRUST, and                           §
THOMAS TOWNSEND                                        §
                                                       §
     Defendants.                                       §

                     DEFENDANT THOMAS TOWNSEND’S BRIEF IN SUPPORT
                       OF MOTION FOR JUDGMENT ON THE PLEADINGS

       Defendant Thomas Townsend (“Townsend”) files this Brief in Support of Motion for Judgment

on the Pleadings and states as follows:

      INTRODUCTION, FACTUAL BACKGROUND, AND SUMMARY OF ARGUMENT

       1.         Plaintiff Luis Raul Gandara Carrillo (“Plaintiff” or “Carillo”) filed this lawsuit against

Townsend and four different corporate and/or trust defendants (the “Defendant Entities”) asserting two

claims: (1) Defendants’ alleged failure to pay overtime pursuant to the Fair Labor Standards Act (the

“FLSA”); and (2) negligence (“Plaintiff’s Negligence Claim”).

       2.         Plaintiff’s Negligence Claim is based upon the following allegations:

                      • Plaintiff was employed by the Defendant Entities. See Plaintiff’s First Amended
                        Complaint at ¶¶ 3-6, 12, 14-15.

                      • Townsend was an officer and/or owner and/or manager of the Defendant Entities
                        and ran the day-to-day operations of those entities. See id. at ¶ 7.

                      • On or about December 17, 2013, while in the course and scope of his

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                       employment, Plaintiff stepped onto an apartment patio that allegedly contained
                       rotted planks, Plaintiff fell through the patio, and Plaintiff suffered injuries as a
                       result. See id. at ¶¶ 23-24.

                   • Defendants were negligent in failing to maintain a safe working environment,
                     and as a result, Plaintiff was injured. See id. at ¶ 25.

                   • Defendants knew of the unsafe working condition involving the rotted planks and
                     failed to provide Plaintiff with the necessary equipment to maintain a safe
                     working environment. See id. at ¶ 26.

       3.       Plaintiff’s Complaint does not contain a single allegation that (1) Townsend is the alter

ego of any of the Defendant Entities, (2) Townsend had a legal duty to Plaintiff that was independent of

the Defendant Entities’ duties to Plaintiff, or (3) Townsend breached some duty to Plaintiff that was

independent of the Defendant Entities’ duties to Plaintiff.

       4.      As a result, Plaintiff has not pled a valid negligence claim against Townsend. Because

the pleadings deadline in this case has passed, Plaintiff’s negligence claim against Townsend should be

dismissed with prejudice.

                                ARGUMENTS AND AUTHORITIES

I.     Standard Under Federal Rule of Civil Procedure 12(c).

       5.      Federal Rule of Civil Procedure 12(c) states that, “After the pleadings are closed—but

early enough not to delay trial—a party may move for judgment on the pleadings.” “A motion for

judgment on the pleadings under Rule 12(c) is subject to the same standard as a motion to dismiss

under 12(b)(6). Thus, the inquiry focuses on the allegations in the pleadings and not on whether the

plaintiff actually has sufficient evidence to succeed on the merits.” See Ackerson v. Bean Dredging

LLC, 589 F.3d 196, 209 (5th Cir. 2009) (internal quotations omitted).

II.    Plaintiff’s Own Pleading Demonstrates That He Has Not Pled a Valid Negligence Claim
       Against Townsend.

       6.      When an employee’s employer is a corporation (rather than an individual), “the law

charges the corporation itself, not the individual corporate officer, with the duty to provide the

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employee a safe workplace.” See Leitch v. Hornsby, 935 S.W.2d 114, 117 (Tex. 1996). Although a

corporate officer can be liable to company employees for his own negligence, “individual liability only

arises when the officer or agent owes an independent duty of reasonable care to the injured party

apart from the employer’s duty.” Id. (emphasis added). “For example, an agent whose negligence

causes an auto accident may be held individually liable along with his or her employer when driving in

the course and scope of employment … [b]ecause the agent owes a duty of reasonable care to the

general public regardless of whether the auto accident occurs while driving for the employer …..” Id.

(internal citations omitted). Thus, unless alter ego is established, corporate officers and agents are

subject to personal liability for their actions within the employment context only when they breach an

independent duty of care. Id.

       7.      In Leitch v. Hornsby, a plaintiff employee sued his corporate employer (“Pro Com”) and

two of the company’s officers, directors and stockholders (“Leitch” and “Crews”) for negligence for

back injuries the employee suffered during the course and scope of his employment. Leitch v. Hornsby,

935 S.W.2d 114, 116 (Tex. 1996). After the trial court rendered judgment against all three defendants,

Leitch and Crews appealed, arguing that they were not individually liable for the plaintiff’s injuries. Id.

The Texas Supreme Court agreed, stating:

         Here, the jury found that Pro Com, Leitch, and Crews were each negligent and
         responsible for [plaintiff’s] injuries. However, the jury also found that [plaintiff] was
         Pro Com’s employee and failed to find Pro Com was the alter ego of Leitch and
         Crews. The court of appeals held that a corporate officer is not shielded from
         personal liability and that an officer may be found negligent for the officer’s own acts.
         The court of appeals noted that there was evidence that Leitch and Crews, officers
         and shareholders of Pro Com, took an active role in the managing the daily
         operations of Pro Com, [plaintiff’s] employer. The court of appeals concluded that
         when an officer performs duties for his principal, the officer owes a duty to avoid
         negligence, whether active or passive. Based on the evidence in the record and the
         legal conclusions it reached, the court of appeals affirmed the trial court’s judgment.
         We conclude the court of appeals erred because it did not properly analyze the source
         of the duty breached in this case.

         Leitch and Crews were not [plaintiff’s] employers. The jury found that Pro Com was

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          [plaintiff’s] employer. As [plaintiff’s] employer, Pro Com had the nondelegable duty
          to use ordinary care in providing [plaintiff] with a safe workplace. Werner, 909
          S.W.2d at 869; Harrison, 545 S.W.2d at 230. However, the jury did not find that Pro
          Com was the alter ego of Leitch and Crews. Accordingly, under the record and as a
          matter of law, Leitch and Crews were acting within their capacities as officers of Pro
          Com and not in their individual capacities. The alleged actions by Leitch and Crews,
          whether active or passive, were actions of a corporate officer on behalf of Pro Com
          and deemed Pro Com’s acts. Holloway, 898 S.W.2d at 795. Leitch and Crews had
          no individual duty as corporate officers to provide [plaintiff] with a safe workplace.
          The duty to provide a safe workplace was a nondelegable duty imposed on, and
          belonging solely to, Pro Com. Fort Worth Elevators, 70 S.W.2d at 401; Harrison,
          545 S.W.2d at 230. The record does not show a breach of any other duty by Leitch
          and Crews. Because a corporate officer acting on the corporation’s behalf does not
          owe a corporate employee an individual duty to provide that employee with a safe
          work place, and because Leitch and Crews did not breach any separate duty, the court
          of appeals erred in affirming their individual liability. We hold Leitch and Crews are
          not individually liable.

Id. at 117-18.

        8.       As noted above, Plaintiff’s Negligence Claim is based upon the allegations that (1) the

Defendant Entities were Plaintiff’s employers, 1 (2) Defendants were negligent in failing to maintain a

safe working environment, and (3) Defendants knew of the unsafe working condition involving the

rotted planks and failed to provide Plaintiff with the necessary equipment to maintain a safe working

environment. See Plaintiffs’ Complaint at ¶¶ 25-26.

        9.       There is no allegation that Townsend breached some duty aside from the duty of

Plaintiff’s employers’ (the Defendant Entities) to provide a safe working environment, which as Leitch

makes clear, is a duty unique to Plaintiff’s employers. See Leitch, 935 S.W.2d at 117 (“…the law

charges the corporation itself, not the individual corporate officer, with the duty to provide the

employee a safe workplace.”) There also is no allegation that Townsend is the alter ego of any of the

Defendant Entities.

1
    Plaintiff alleges in his Complaint that Townsend, as a result of his being an officer of the Defendant Entities, was
Plaintiff’s “employer” under the FLSA. See Plaintiff’s First Amended Complaint at ¶ 7. The FLSA, however, broadly
defines “employer” as “any person acting directly or indirectly in the interest of an employer in relation to an employee
and includes a public agency, but does not include any labor organization (other than when acting as an employer) or
anyone acting in the capacity of officer or agent of such labor organization.” 28 U.S.C. § 203(d) (emphasis added). This
broad definition of “employer” under the FLSA does not apply to Plaintiff’s negligence claim against Townsend.

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        10.   As a result, Plaintiff has failed to plead a valid negligence claim against Townsend and

that claim should be dismissed with prejudice to the refiling of same.

        WHEREFORE, Defendant Thomas Townsend respectfully requests that the Court grant his

Motion for Judgment on the Pleadings, dismiss with prejudice Plaintiff’s negligence claim against

Townsend, and grant Townsend such other and further relief to which he may show himself justly

entitled.

                                                    Respectfully submitted,

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                                                    ATTORNEYS FOR DEFENDANTS

                                    CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of this document was served on all counsel of
record via ECF, on September 30, 2015.


                                                     /s/Robert Wood
                                                     Robert J. Wood, Jr.




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